         Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 1 of 19 PageID #:130

    FIL0E17D
       3/8/2
   THOMAS G       . BRUTON    T
       U .S . D IS TRICT COUR
CLERK,
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 2 of 19 PageID #:131
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 3 of 19 PageID #:132
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 4 of 19 PageID #:133
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 5 of 19 PageID #:134
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 6 of 19 PageID #:135
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 7 of 19 PageID #:136
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 8 of 19 PageID #:137
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 9 of 19 PageID #:138
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 10 of 19 PageID #:139
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 11 of 19 PageID #:140
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 12 of 19 PageID #:141
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 13 of 19 PageID #:142
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 14 of 19 PageID #:143
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 15 of 19 PageID #:144
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 16 of 19 PageID #:145
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 17 of 19 PageID #:146
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 18 of 19 PageID #:147
Case: 1:17-cv-00441 Document #: 14 Filed: 03/08/17 Page 19 of 19 PageID #:148
